  20-05027-rbk Doc#25 Filed 07/16/20 Entered 07/16/20 05:21:52 Ntc/Hrg AP int ptys Pg 1
                                         of 2
                      UNITED STATES BANKRUPTCY COURT
                             Western District of Texas

                                                                 Bankruptcy Case
                                                                                 20−50805−rbk
                                                                            No.:
                                                                    Chapter No.: 11
IN RE: KrisJenn Ranch, LLC , Debtor(s)

                                                            Adversary Proceeding
                                                                                 20−05027−rbk
                                                                            No.:
                                                                          Judge: Ronald B. King
                                                        Krisjenn Ranch, LLC,
                                                        Krisjenn Ranch, LLC,
                                                        Series Uvalde Ranch,
                                                        Krisjenn Ranch, LLC,
                                                        Series Pipeline Row
                                                        Plaintiff
                                                   v.
                                                        DMA Properties, Inc. et
                                                        al.
                                                        Defendant



                                        NOTICE OF HEARING

PLEASE TAKE NOTICE that a hearing will be held

     at   VIA TELEPHONE: (888)278−0296; AC:9198559

     on   8/3/20 at 02:00 PM

     TELEPHONIC Hearing to Consider and Act Upon the Following: DIAL IN INFORMATION IS AS
     FOLLOWS: (888) 278−0296 Access Code 9198559# IF AN EVIDENTIARY HEARING IS REQUIRED
     PLEASE CONTACT DEANNA CASTLEBERRY @ deanna_castleberry@txwb.uscourts.gov (related
     document(s): 23 Amended Motion to Quash Third−Party Subpoena and Objections Filed by Charles John
     Muller IV, Ronald J. Smeberg for Plaintiff Krisjenn Ranch, LLC, Krisjenn Ranch, LLC, Series Uvalde Ranch,
     Krisjenn Ranch, LLC, Series Pipeline Row, Counter Defendants Krisjenn Ranch, LLC, Krisjenn Ranch, LLC,
     Series Uvalde Ranch, Krisjenn Ranch, LLC, Series Pipeline Row, Krisjenn Ranch, LLC, Krisjenn Ranch,
     LLC, Series Uvalde Ranch, Krisjenn Ranch, LLC, Series Pipeline Row. (related document(s): 22 Motion to
     Quash Third−Party Subpoena and Objections Filed by Ronald J. Smeberg for Plaintiff Krisjenn Ranch, LLC,
     Krisjenn Ranch, LLC, Series Uvalde Ranch, Krisjenn Ranch, LLC, Series Pipeline Row, Counter Defendants
     Krisjenn Ranch, LLC, Krisjenn Ranch, LLC, Series Uvalde Ranch, Krisjenn Ranch, LLC, Series Pipeline
     Row, Krisjenn Ranch, LLC, Krisjenn Ranch, LLC, Series Uvalde Ranch, Krisjenn Ranch, LLC, Series
     Pipeline Row. Hearing Scheduled For 8/3/2020 at 2:00 PM at VIA TELEPHONE−Conference Dial−In
     Number: (888)278−0296; Access Code: 9198559 (Castleberry, Deanna)


Dated: 7/16/20
                                                           Barry D. Knight
                                                           Clerk, U. S. Bankruptcy Court
20-05027-rbk Doc#25 Filed 07/16/20 Entered 07/16/20 05:21:52 Ntc/Hrg AP int ptys Pg 2
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                                                                      [Hearing Notice (AP)] [NtchrgAPap]
